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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                            )
                                            )
 SCIOLI TURCO, INC., & 915 SPRING
                                            )
 GARDEN ASSOCIATES, L.P.,
                                            )
                   Petitioners,             )
 v.                                         ) CIV. ACTION NO. 21-CV-00563- RBS
                                            )
                                            )
 PHILADELPHIA & READING                     )
 RAILROAD CO., and READING                  )
 INTERNATIONAL, INC.,                       )
                                            )
                   Respondents.             )

                                          ORDER

        Upon consideration of Petitioners’ Motion to Remand Or, In the Alternative, to Set

a Hearing Within Sixty Days (the “Motion”), and any response thereto, it is ORDERED

that the Motion is GRANTED. The Court, finding that it lacks subject matter jurisdiction

over this action, hereby REMANDS this action to the Pennsylvania Court of Common

Pleas for Philadelphia County for all further proceedings.

        It is further ORDERED that Petitions Scioli Turco, Inc. and 915 Spring Garden

Associates, L.P. are entitled to recovery of attorneys’ fees and costs incurred as a result

of the removal. Petitioners shall file a motion for such fees and costs within 14 days of the

date of this Order.

                                                         BY THE COURT:



                                                         _________________________
                                                                         Surrick, J.




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          Case 2:21-cv-00563-RBS Document 14 Filed 03/01/21 Page 2 of 4




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

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                                           )
 SCIOLI TURCO, INC., & 915 SPRING
                                           )
 GARDEN ASSOCIATES, L.P.,
                                           )
                   Petitioners,            )
 v.                                        ) CIV. ACTION NO. 21-CV-00563- RBS
                                           )
                                           )
 PHILADELPHIA & READING                    )
 RAILROAD CO., and READING                 )
 INTERNATIONAL, INC.,                      )
                                           )
                   Respondents.            )

                                         ORDER

        Upon consideration of Petitioners’ Motion to Remand Or, In the Alternative, to Set

a Hearing Within Sixty Days (the “Motion”), and any response thereto, it is ORDERED

that the Motion is GRANTED. An evidentiary hearing will be held on ________________,

2021 at ______ to determine whether the conditions for the appointment of a conservator

have been met, whether a conservator should be appointed, who should be appointed

conservator, and/or when other appropriate relief should be granted.

                                                       BY THE COURT:



                                                       _________________________
                                                                       Surrick, J.




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          Case 2:21-cv-00563-RBS Document 14 Filed 03/01/21 Page 3 of 4




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                           )
                                           )
 SCIOLI TURCO, INC., & 915 SPRING
                                           )
 GARDEN ASSOCIATES, L.P.,
                                           )
                   Petitioners,            )
 v.                                        ) CIV. ACTION NO. 21-CV-00563- RBS
                                           )
                                           )
 PHILADELPHIA & READING                    )
 RAILROAD CO., and READING                 )
 INTERNATIONAL, INC.,                      )
                                           )
                   Respondents.            )

       SCIOLI TURCO, INC.’S AND 915 SPRING GARDEN ASSOCIATES, L.P.’S
                MOTION TO REMAND OR, IN THE ALTERNATIVE,
                   TO SET A HEARING WITHIN SIXTY DAYS

        Pursuant to 28 U.S.C. § 1447, Petitioners Scioli Turco, Inc., and 915 Spring

Garden Associates, LP respectfully move this Court to remand this in rem petition action

to the Pennsylvania Court of Common Pleas for Philadelphia County. The reasons

therefore are fully stated in the accompanying brief, which is incorporated in this motion

by reference. Alternatively, should the Court determine that it has jurisdiction over this

action, Petitioners respectfully request that the Court set an evidentiary hearing to

determine the existence of blighting conditions at the subject property within 60 days of

the initiation of this action, as required by Pennsylvania’s Abandoned and Blighted

Property Conservatorship Act, 68 P.S. § 1101, et seq.

                                             Respectfully submitted,

 Dated: March 1, 2021                        /s/ Gaetano P. Piccirilli
                                             Gaetano P. Piccirilli, Esq.
                                             Monica Clarke Platt, Esq.
                                             KLEHR HARRISON HARVEY
                                             BRANZBURG, LLP


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                                            Attorneys for Petitioners Scioli Turco, Inc.
                                            and 915 Spring Garden Associates, L.P.




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